Case 3:22-cv-00049-NKM-JCH Document 173-1 Filed 02/28/23 Page 1 of 6 Pageid#: 1926




                        EXHIBIT 18
    Case 3:22-cv-00049-NKM-JCH Gmail
 Redacted                       Document
                                     - Fwd: 173-1      Filed
                                            v Mast - DoD        02/28/23
                                                                    & postponingPage
                                                               Redacted
                                                         rescission                     2 hearing
                                                                                tomorrow's of 6 Pageid#: 1927


            Gmail                                                                    Joshua Mast <         Redacted             @gmail.com>



 Fwd: John          v Mast - DoD rescission & postponing tomorrow's hearing
       Doe
 2 messages



                                                   Redacted
    ---------- Forwarded message ---------
    From: Wyer, Kathryn (CIV) <Kathryn.Wyer@usdoj.gov>
    Date: Tue, Jun 7, 2022 at 3:55 PM
    Subject:        v Mast - DoD rescission & postponing tomorrow's hearing
    To: hannonwright@gmail.com < Redacted @gmail.com>



    Hannon,

    I wanted to alert you to the attached as quickly as possible. DoD has rescinded the authorization previously granted to
    Major Mast in response to his Touhy requested dated May 17, 2022. In light of this rescission, Respondents are not
    authorized to use any United States Government information, including any information that Major Mast obtained from the
    U.S. Government or in the course of his official duties, in the Redacted v. Mast state court proceeding. I understand that Major
    Mast has submitted a revised Touhy request to DoD, which remains pending, but DoD is unlikely to be able to respond to
    that request before tomorrow’s hearing. In light of the rescission, we believe tomorrow’s hearing should be postponed.
    Please call me at your earliest convenience at 202-616-8475 to discuss. Thank you.



    Kathy



    __________________________________

    Kathryn L. Wyer | Senior Trial Counsel

    U.S. Department of Justice, Civil Division, Federal Programs Branch

    Delivery: 1100 L St., NW, Room 12014, Washington, DC 20005

    tel (202) 616-8475 | fax (202) 616-8470

    kathryn.wyer@usdoj.gov



    *** Warning *** Attorney/Client Privilege *** Attorney Work Product ***

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    attorney work product. It is not for release, review, retransmission, dissemination, or use by anyone other than the intended
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    document is for INTERNAL GOVERNMENT USE ONLY and may be exempt from disclosure under the Freedom of Information Act,
    5 USC § 552(b)(5).



    --
    Respectfully,

    Hannon Wright
    Rakness & Wright, PLC
https://mail.google.com/mail/u/0/?ik=750b19e2f7&view=pt&search=all&permthid=thread-f%3A1735007859076549360&simpl=msg-f%3A1735007859076549360…   1/2
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    1540 Insurance Lane
    Charlottesville, VA 22911
          Redacted
                     Fax
      Redacted      @gmail.com


         MARSOC Rescission Letter.pdf
         560K




               Redacted



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Case 3:22-cv-00049-NKM-JCH Document 173-1 Filed 02/28/23 Page 4 of 6 Pageid#: 1929


                                ONITED STATES MARINE CORPS
                            MARINE FORCES SPECIAL O~ERATIONS COMMAND
                                          ?SC BOX 20116
                                   CAMP LEJEUNB NC 28542-0116
                                                                       IN REPI.YRE!'ER TO:
                                                                       5800
                                                                       cos
                                                                       JUNO 7 2022
     FIRST ENDORSEMENT on Maj Mast 's ltr 5800 JKM of 17 May 2022

     From: Chief of Staff, Marine Forces Special Operations Command
     To:   Major Joshua Mast, USMC

     Subj:   PERMISS ION TO TESTIFY ON MY DAUGHTER'S BEHALF INA
             VIRGINIA STATE PROCEEDING

     Ref: (a) SECNAVINST 5820.SA
          (b) Maj Mast ltr dtd 17 May 2022
          (c) MARSOC COS LTR dtd 18 May 2022

     1 . Pursuant to reference (a), t~is letter responds to reference (b).
     It cancels and s upercedes reference (cl, the First Endorsement on Maj
     Mast's ltr 5800 JKM of 17 May 2322.

     2. MARSOC acknowledges receipt of your letter dated 17 May, 2022 in
     which you request permission to present unclassified official
     information in a state court proceeding pertaining to your daughter.
     In order to process your request, additional information is required.
     The requirements for a complete Touhy request are listed below.

     3. The release of official info~ation, both written and verbal, for
     litigation purposes, including a rel ease in response toa subpoena
     duces tecum is controlled by Department of Defense (DoD) Directive
     5405.2 and Secretary of the Navy Instruction 5820.8A, which are
     published at 32 C.F.R. pts. 97 and 725 (2005}. They are issued
     consistent with 5 U.S.C. § 301 and the Supreme Court holding of United
     States ex rel . Touhy v. Ragen, 340 u.s . 462 (1951), which confirms the
     authority of the head of a federal agency to control the release of
     official information. Further, the policy iterates that factual
     official information should be made reasonably available for use in
     litigation, unless that information is classified, privileged, or
     otherwise protected from public disclosure.

     4 . Regulation 10 u.s.c. § 786 1 (1988) provides that the Secretary of
     the Navy has c ustody and charge of all Department of the Navy (DoN)
     books, records, and property. Under DoD Directive 5530.1 of 22 August
     l983 (NOTAL) , the Secretary of the Navy's sole delegate for service of
     process i s the General Counsel of the Navy. ?e~ 32 C.F.R. § 257.S (c).

     5. So that the Department of the Navy may adequately respond to your
     request, please submit your written reguest in accordance with 32
     C.F.R. § 725.7 and include the following:

             a. A statement that the Ur-ited States is, or is not, reasonably
Case 3:22-cv-00049-NKM-JCH Document 173-1 Filed 02/28/23 Page 5 of 6 Pageid#: 1930


    Subj:   PERMISSION TO TESTIFY ON MY DAUGHER'S BEHALF INA VIRGINIA
            STATE PROCEEDING

    anticipated to be a party;

          b. The name, address, telephone and fax numbers of counsel for
    each party.  (Any approval for conducting a deposition will require
    the requester to notify all parties;

          c. If Privacy Act or Health Insurance Portability and
    Accountability Act protected information is requested (i.e., medical,
    pay, or military service information), personal authorization for
    release from the subject of the documents or a judge-signed subpoena
    or judge-signed court order will be required to obtain records,
    conduct a deposition, or obtain testimony;

          d. A summary of the facts of the case and the present posture of
    the case, including the name of the court where the case is pending
    and its court-assigned case number;

          e. A statement of the relevance of the matters sought to the
    proceedings at issue;

          f. A description, in as much detail as possible, of the
    documents, information, or the expected testimony sought;

         g. The date and time when the documents, information, or
   testimony sought must be produced; the requested location for
   production; and, if applicable, the estimated length of time that
   attendance of the witness will be required. Please note you must
   obtain all desired records in advance of any testimony. Witnesses
   (e.g., Navy medical personnel), are not custodians of Navy records and
   cannot be expected to bring requested records with them to depositions
   or trial appearances;

         h. The location of the records, including name, address, and
   telephone number, if known, of the persen from whom the documents,
   information, or testimony is sought;

         i. A statement of requester's willingness to pay in advance for
   all reasonable expenses and costs of searching for and producing
   documents;

         j. A statement of understanding that the production of the
   witness, if applicable, will be at no expense to the Government or the
   witness and that travel expenses, if any, are the responsibility of
   the requester. An agreement to provide, free of charge to the
   witness, a copy of the deposition transcript {if taken by a
   stenographer, or a video tape copy if taken solely by video) with an
   opportunity to read, sign, and correct the deposition at no cost to
   the witness or the Government;

         k. An agreement to notify the determining authority sufficiently
   in advance of all testimony, normally a minimum of at least 10 days.
Case 3:22-cv-00049-NKM-JCH Document 173-1 Filed 02/28/23 Page 6 of 6 Pageid#: 1931


      Subj:   PERMISSION TO TESTIFY ON MY DAUGHER'S BEHALF INA VIRGINIA
              STATE PROCEEDING

      Command operations, training schedules, and personal schedules may
      affect availability; the military mission of the command may
      necess i tate the member's absence outside the jurisdiction of the court
      f or indefinite peri ods of time;

              1. A statement whether factual, opinion, or expert testimony is
      requested, i f any testimony is sought. Please review 32 C. F.R.
      725.4(c) to assist you with making t his dete rmination, as DoN
      personnel cannot provide opinion or expert testimony concer n i ng
      offic i al DoD information except by wr i t ten special authorization from
      the Office of the J udge Advocate General of -the Navy (OJAG). If
      expert or opini on testimony is sought, you must provide a written
      expl anation of why exceptional need or unique circumstances exist
      justifying such testimony, including why such testimony is not
      reasonabl y available from any other source; and

           m. A statement of understandi ng t hat t he United States reserves
     the right to have a representative at the trial/deposition (in persen
     or telephonically). This represent a t ive may instruct t he witness not
     to answer any quest i on that goes beyond the authori zed scope or calls
     for expert testimony .

     6. Once a request complying with 32 C.F.R. § 725 is properly provided
     t o the MARSOC Commanding Genera!, it will be processed as
     expeditiously as possible.

     7 . I f you have anv ouestions or concerns regardinq this matter, I can
     be reached at     Redacted g;,s ocom. mil or ( 91 o) Redacted 1.
                                      Redacted
